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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  WIRTGEN AMERICA, INC.

                          Plaintiff/Counterclaim-
                          Defendant,
                                                        Case No. 17-770-JDW
                          v.
  CATERPILLAR INC.
                          Defendant/Counterclaim
                          Plaintiff.

            PLAINTIFF’S CORRECTED OPENING BRIEF IN SUPPORT OF
            MOTIONS FOR ENHANCED DAMAGES, ATTORNEYS’ FEES,
           INJUNCTION OR ONGOING ROYALTIES, AND OTHER RELIEF

  Dated: May 1, 2024

  OF COUNSEL:                                       YOUNG CONAWAY STARGATT &
                                                    TAYLOR, LLP
  Ryan D. Levy
  Seth R. Ogden                                     Adam W. Poff (No. 3990)
  William E. Sekyi                                  Samantha G. Wilson (No. 5816)
  Mark A. Kilgore                                   Rodney Square
  PATTERSON INTELLECTUAL                            1000 North King Street
  PROPERTY LAW, P.C.                                Wilmington, DE 19801
  1600 Division Street, Suite 500                   (302) 571-6600
  Nashville, Tennessee 37203                        apoff@ycst.com
  (615) 242-2400                                    swilson@ycst.com
  rdl@iplawgroup.com
  sro@iplawgroup.com
  wes@iplawgroup.com                                Attorneys for Plaintiff Wirtgen America, Inc.
  mak@iplawgroup.com

     - and -

  Daniel E. Yonan
  Paul A. Ainsworth
  STERNE, KESSLER, GOLDSTEIN & FOX P.L.L.C.
  1101 K Street, NW, 10th Floor
  Washington, DC 20005
  (202) 371-2600
  dyonan@sternekessler.com
  painsworth@sternekessler.com
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        This case involves a pattern of willful patent infringement that is—literally—without

 precedent. Caterpillar knew that Wirtgen had multiple patents on its cold planer machines. But,

 rather than use that knowledge to avoid infringing, Caterpillar—frustrated with its abysmal

 performance in the cold-planer machine market—set out to systematically analyze and copy the

 patented features of Wirtgen’s market-leading machines.

        Wirtgen promptly tried to stop Caterpillar’s infringement. In 2017, it brought an action

 before the U.S. International Trade Commission (“ITC”) to protect its rights, and the ITC

 confirmed that Wirtgen’s patents were valid and that Caterpillar infringed them. Yet Caterpillar

 still did not stop infringing—not after an ITC ALJ found in Wirtgen’s favor; not after the ITC

 affirmed; and not even after the ITC issued an exclusion order prohibiting Caterpillar from

 importing its infringing machines. Instead, Caterpillar moved its overseas manufacturing to the

 United States so it could continue infringing domestically and deliberately circumvent the ITC’s

 remedy. It took Caterpillar years to finally redesign its machines, even then, it redesigned around

 only some of the patents. In the meantime, it continued selling infringing machines.

        So Wirtgen had to take further actions to protect its rights. After the ITC proceeding,

 Caterpillar’s infringement continued and Wirtgen pursued its legal remedies in this Court to

 bring an end to Caterpillar’s conduct. The trial revealed the same story. Indeed, Caterpillar made

 little effort to dispute any of its bad acts. It largely acknowledged copying, attempting instead to

 excuse it as routine industry practice. And it never presented a shred of evidence that it had a

 good-faith belief that Wirtgen’s patents were invalid or not infringed.

        Given Caterpillar’s disregard of Wirtgen’s patent rights, it is not surprising that the jury

 found that Caterpillar willfully infringed five Wirtgen patents (some of those that were before the

 ITC and others that were not). The same circumstances that led to that verdict counsel in favor of




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 this Court enhancing damages and awarding attorneys’ fees.

        Indeed, Wirtgen submits that these unique facts compel enhancement. Wirtgen is

 unaware of any case where a party circumvented an exclusion order in the way Caterpillar did

 here. But Caterpillar’s motivation for its particularly brazen infringement is no mystery: Between

 October 2018 and the end of 2023, Caterpillar turned a profit of more than $96 million. This is

 despite its assertions at trial that it had “easy” design-around options. In short, Caterpillar

 decided to place its own profits over Wirtgen’s patent rights—to take Wirtgen’s market share at

 any cost. That is precisely the sort of behavior enhancement is designed to deter.

        The damage has been done. Wirtgen has suffered infringement for years despite having

 never licensed its patents in the past to any competitor, let alone Caterpillar. Indeed, every single

 cold planer machine Caterpillar has sold since 2017 has been found to infringe at least one

 Wirtgen patent. Enhancement and attorneys’ fees are warranted to send a message that this sort

 of behavior cannot be tolerated. Wirtgen also respectfully requests that the Court (i) enjoin the

 sale of Caterpillar’s infringing cold planer machines or, alternatively, impose an ongoing royalty

 2–3 times the implied royalty awarded by the jury; (ii) award prejudgment and post-judgment

 interest; and (iii) award supplemental damages for pre-verdict sales not presented to the jury.

 I.     The Court should award Wirtgen enhanced damages.

        The jury awarded $12.9 million for Caterpillar’s infringement of five patents. The jury

 also found the infringement willful. Substantial evidence supported this finding. Indeed, this case

 involves more than the typical proof of willful infringement. Caterpillar continued to make and

 sell infringing machines even after the ITC ALJ found its machines infringed the ’530, ’309, and

 ’641 patents. Even worse, Caterpillar made a calculated decision to move its manufacturing to

 the United States to continue making and selling infringing machines and evade the ITC’s

 exclusion order. In view of Caterpillar’s defiant and continuing willful infringement, Wirtgen


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 respectfully requests that the Court treble the awarded damages to punish Caterpillar’s behavior.

 See 35 U.S.C. § 284; Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 107 (2016).

        Courts typically apply the nine Read factors to guide the enhancement analysis: (1)

 whether the infringer deliberately copied the ideas or design of another; (2) whether the infringer

 investigated the patent and formed a good-faith belief that it was invalid or that it was not

 infringed; (3) the infringer’s behavior in the litigation; (4) the defendant’s size and financial

 condition; (5) the closeness of the case; (6) the duration of the defendant’s misconduct;

 (7) remedial action by the defendant; (8) the defendant’s motivation for harm; and (9) whether

 the defendant attempted to conceal its misconduct. Read Corp. v. Portec, Inc., 970 F.2d 816, 827

 (Fed. Cir. 1992). However, courts need not discuss every factor, as they are non-exclusive.

 Georgetown Rail Equip. Co. v. Holland L.P., 867 F.3d 1229, 1244–45 (Fed. Cir. 2017).

        As shown below, the “particular circumstances” of this case merit treble damages.

        A.      Caterpillar directly copied Wirtgen’s inventions (Read Factor 1).

        Direct copying of a patented invention, as happened here, strongly supports enhanced

 damages. See WBIP, LLC v. Kohler Co., C.A. No. 11-10374, 2014 WL 585854, at *7 (D. Mass.

 Feb. 12, 2014), aff’d, 829 F.3d 1317, 1339–42 (Fed. Cir. 2016). This is not a case where a

 defendant simply knew about the patents and kept selling machines that were later determined to

 infringe. Caterpillar acknowledged the deficiencies in its own machines, observed the success of

 Wirtgen’s machines, and so systematically tore them down and copied them. That conduct is

 particularly egregious and justifies trebling the jury’s damages award. Halo, 579 U.S. at 106.

        Before Caterpillar copied Wirtgen’s machines, its legacy machines had a problem: they

 were outdated. Trial Transcript (“Tr.”) 1798:17–1799:1; see Tr. 1856:14–19. In fact, Caterpillar

 readily acknowledged that it had “limped” in the cold planer space because it had not updated its

 machines for years. Tr. 360:18–361:2. But, instead of coming up with its own innovative


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 designs, Caterpillar sought a shortcut by taking Wirtgen’s functions and features and using them

 as a benchmark Tr. 413:12–414:10; Tr. 429:12–17; Ex. 0611.0039.

        Caterpillar acquired two Wirtgen machines and identified the features it wanted in

 include in what would become Caterpillar’s PM300, PM600, and PM800 series machines.

 Caterpillar tested Wirtgen’s machines, systematically broke them down, photographed and

 created 3D CAD models of their components, and reassembled them. Tr. 406:8–19, 408:6–11,

 408:24–409:17, 409:19–410:20; see also Tr. 496:22, 497:8–12, 497:17–21; Ex. 0562.0041.

        Caterpillar combed through the data that it had collected from its tests. Tr. 562:21–

 564:11; Ex. 1344.0003. And it identified several advanced technologies, which it categorized as

 “catch-up” features and “value match” features from Wirtgen’s machines that it wanted to copy

 and include in its own machines. Tr. 415:22–416:1; see also Tr. 418:6–420:16, 420:18–421:5,

 421:15–424:6, 427:1–7, 429:3–431:17.

        For example, Caterpillar made the following assessments:

    •   The “Four-Fold Floating Axle” patented in the ’309 patent was categorized as a “Catch
        Up” feature, as of 2011. Ex. 0602.0107. Caterpillar recognized that the “PM200 has no
        active suspension system,” but the “W210 has a ‘Four-Fold Floating Axle’ suspension
        system.” Ex. 0604.0005. By 2017, Caterpillar named this feature its “Ride Control
        System,” and categorized it as a “Value Match” feature. Ex. 0611.0039.

    •   The “Position Sensing Cylinders” patented in the ’530 patent was categorized as a “Value
        Match” feature. Ex. 0611.0039.

    •   The “Parallel to Surface Auto Leveling Technology” patented in the ’972 patent was
        categorized as a “Catch Up” feature, as of 2011. Ex. 0602.0107. Caterpillar recognized
        that the “PM200 does not have a Parallel to Surface feature,” but the “W210 has a feature
        that automatically adjusts the rear legs while entering a cut and continuing in the cut to
        keep the machine parallel to the cutting surface.” Ex. 0604.0003. By 2017, Caterpillar
        described this feature as “Automatic Four Leg Leveling,” and categorized it as a “Value
        Match” feature. Ex. 0611.0039.

    •   The “Infinite reverse with rotor running (using new sensors)” patented in the ’641 patent
        was categorized as a “Differentiation” feature. Ex. 0602.0107. Caterpillar observed that
        the Wirtgen “[m]achine is able to reverse indefinitely as long as the status of the sensor is
        within the desired range – need to determine exactly what this sensor is, Wirtgen use


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        moldboard position”). Ex. 0227A.0021; see also Tr. 424:7–13, 425:12–426:24.

    •   The “Intuitive Grade & Slope Display” patented in the ’788 patent was categorized as a
        “Superior” feature. Ex. 0611.0039; see Tr. 431:8–432:17 (Mr. Engelmann explaining that
        this feature refers to the hot swap feature).

        While gathering competitive intelligence may be common within the cold planer

 industry, Caterpillar’s systematic teardowns were not standard industry practice. Caterpillar’s

 engineering manager Dario Sansone testified that, although he had worked in the industry since

 1992 and designed other cold planer machines, he did not participate in the teardown of a

 competitor’s machine until he worked for Caterpillar. Tr. 1076:16–23. Indeed, Caterpillar’s

 teardowns specifically targeted Wirtgen’s machines. It did not tear down any other cold planer

 competitor’s machine. Tr. 1799:8–17. And the result of Caterpillar’s comprehensive teardowns

 were machines with identical functionality to Wirtgen’s machines. See Tr. 638:10–640:3; Ex.

 1344.0006 (noting that Caterpillar could not accomplish Wirtgen’s patented four-way floating

 axle arrangement “without having the exact same plumbing arrangement that the W210 has (i.e.

 if we have a valve to control each leg individually, we will not accomplish this feature)”).

        Moreover, there is no evidence that Caterpillar tried to avoid including Wirtgen’s

 patented features in its new machines. On the contrary, the fact that the very engineers who tore

 down Wirtgen’s machines, including Mr. Engelmann and Mr. Steffen, were the same engineers

 who designed Caterpillar’s machines undermines any argument that Caterpillar independently

 developed its machines or that the similarities between Caterpillar and Wirtgen’s machines were

 mere coincidence. Caterpillar’s brazen copying strongly favors enhancing the jury’s award.

        B.      Caterpillar had no good-faith belief that the asserted claims were invalid or
                not infringed (Read Factor 2).

        Caterpillar knew of Wirtgen’s asserted patents as early as 2013. See Tr. 364:14–365:2.

 This was by design; four different Caterpillar witnesses testified that Caterpillar monitored all of



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 Wirtgen’s patents and patent applications even before it started implementing those same

 features on its PM300, PM600, and PM800 series machines. Tr. 432:22–433:17 (Engelmann),

 434:3–435:2 (Engelmann), 555:9–16 (Engelmann), 564:18–565:8 (Steffen), 565:18–21 (Steffen),

 668:10–17 (Killion), 1076:24–1077:1 (Sansone). Indeed, other than Wirtgen’s ’530 patent, the

 infringed patents all issued before the Gateway 2 phase of Caterpillar’s cold planer program—

 the phase where Caterpillar finalized the concepts for its machines. Tr. 435:4–437:23, 437:25–

 438:19. Cf. Ex. 0001; Ex. 0003; Ex. 0004; Ex. 0005.

        Despite Caterpillar’s knowledge of Wirtgen’s patents, it did not investigate the scope of

 the patents and form a good-faith belief that they were invalid or not infringed. Caterpillar

 purports to have an internal policy to respect the intellectual property rights of others. Tr.

 556:10–13. But it presented no evidence of any investigation of Wirtgen’s patents to assess

 infringement risks or validity, instead withholding such materials as privileged.

        That was Caterpillar’s right, but the decision comes at a cost. While Caterpillar’s lack of

 an opinion of counsel would have been inadmissible to show willful infringement in the first

 instance, see 35 U.S.C. § 298, the Court may consider the lack of an adequate investigate when

 determining whether to enhance damages. Spectralytics, Inc. v. Cordis Corp., 649 F.3d 1336,

 1347 (Fed. Cir. 2011). Moreover, even if one were to presume Caterpillar—at some point—held

 a good-faith belief that Wirtgen’s patents were invalid or not infringed, the ITC’s determination

 would have disabused Caterpillar of it. The ITC found Caterpillar to infringe the ’309, ’530, and

 ’641 patents. Tr. 237:9–14. But Caterpillar continued to infringe and indeed moved its

 manufacturing to the United States to avoid the ITC’s exclusion order. Tr. 441:3–442:21; see

 also Tr. 219:20–21, 219:25–220:20, 438:21–442:21, 556:10–557:1.

        Caterpillar didn’t stop there. After the ITC finding, Caterpillar released new cold planer




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 builds for the PM300, PM600, and PM800 series machines using the same infringing

 technology. Tr. 369:3–15, 370:13–371:23, 372:5–373:25, 375:1–11, 375:13–376:22, 377:1–10,

 381:13–16, 381:22–382:1. Even just last year—in 2023—Caterpillar released the infringing

 RM600 and RM800 rotary mixer machines that use the same sensing technology in its leg

 cylinders that both the ITC and the jury here found infringe Wirtgen’s patents. Tr. 451:15–452:7.

        In short, Caterpillar presented no evidence of any good-faith belief that Wirtgen’s patents

 were invalid or not infringed, and when faced with the ITC’s findings of infringement,

 Caterpillar flouted those determinations and implemented the infringing features on new builds

 and new machines. Read factor 2 also favors enhancing the jury’s award.

        C.      Caterpillar’s litigation behavior and its assertion of meritless arguments
                support enhancing damages (Read Factors 3 and 5).

        Caterpillar litigated this case unreasonably, needlessly multiplying the proceedings by

 maintaining factually and legally meritless arguments. Three examples illustrate the point.

        First, after Wirtgen moved for summary judgment of infringement of claims 5 and 22 of

 the ’530 patent and claim 29 of the ’309 patent (three claims that the ITC found infringed),

 Caterpillar opposed, citing its experts’ opinions that (i) the Caterpillar machines did not have a

 lifting sensor with two points of attachment to the lifting column (relevant to infringement of the

 ’530 patent), see D.I. 239 at 5; (ii) the magnet in the Caterpillar machines is not part of the lifting

 sensor (also relevant to infringement of the ’530 patent), see id. at 6; and (iii) Wirtgen had not

 established that the Caterpillar machines have a four-sided stability pattern in the location

 required by the ’309 patent, see id. at 10–11. At trial, however, Caterpillar’s experts dropped all

 non-infringement arguments regarding these patents, see Tr. 1732:16–19—likely because they

 were weak to the point of being frivolous. Caterpillar should not have opposed summary

 judgment based on expert opinions it had no intention of offering at trial.



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        Second, Caterpillar accused Wirtgen of infringing a patent on a water-spray system that

 requires a road-construction machine with “a water reservoir mounted on the frame and

 configured to enclose water.” D.I. 272 at 16. But the machines Caterpillar accused do not have a

 water tank mounted on the machine frame: “Wirtgen’s water reservoir is made from a void in the

 frame, so the reservoir isn’t mounted on the frame; it’s part of the frame.” Id. at 17. It appears

 Caterpillar knew this. Its expert Dr. Sorini candidly admitted at his deposition that he had no

 opinions about how the tank was mounted. Dr. Sorini maintained his infringement opinion only

 by relying on a facially implausible construction of “mounted on” to mean simply “at the top of.”

 D.I. 272 at 16. As the Court observed in granting Wirtgen’s motion for summary judgment of

 non-infringement, that construction reads the word “mounted” out of the claim altogether. Id.

        Third, Caterpillar wasted both the Court’s and Wirtgen’s time by improperly proffering

 so-called “expert” testimony on willfulness from a lawyer named Paul Bartowski. D.I. 283 at 4–

 5. As the Court held, those opinions were inadmissible. Expert testimony on the law is useless—

 judges decide what the law is, not expert witnesses—and experts cannot properly testify about “a

 party’s subjective state of mind.” Id. at 5; see, e.g., Shire Viropharma Inc. v. CSL Behring LLC,

 C.A. No. 17-414, 2021 WL 1227097, at *5 (D. Del. Mar. 31, 2021) Caterpillar’s pattern of

 vexatious litigation conduct further supports enhancement. 1




 1
   Caterpillar also brought a “retaliatory” ITC investigation against Wirtgen and accused it of
 infringing three patents of its own. 337-TA-1088. All of the Caterpillar patents asserted,
 however, were found to be not infringed or invalid.


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        D.      Caterpillar’s size supports enhancing damages (Read Factor 4).

        Caterpillar is a multinational corporation with vast financial means. Caterpillar brings in

 billions of dollars in revenue and profits each year. Indeed, the jury’s damages award represents

 a mere fraction of a percent of Caterpillar’s 2022 construction industry revenue. Caterpillar “will

 not be materially impacted by an award of enhanced damages,” which weighs in favor of

 enhancement. nCUBE Corp. v. SeaChange Int’l, Inc., 313 F. Supp. 2d 361, 390 (D. Del. 2004),

 aff’d, 436 F.3d 1317 (Fed. Cir. 2006); see ArcherDX, LLC v. Qiagen Scis., LLC, C.A. No. 18-

 1019, 2022 WL 4597877, at *17 (D. Del. Sept. 30, 2022) (finding this factor to favor

 enhancement when “[t]rebling the jury’s award [resulted in a figure] less than 0.1% of

 [defendant’s] 2020 net sales of $1.87 billion.”).

        E.      The duration of Caterpillar’s infringement supports enhancing damages
                (Read Factor 6).

        Caterpillar has infringed Wirtgen’s asserted patents for years. Caterpillar launched the

 first infringing machine in 2016. After careful review of that machine, Wirtgen notified

 Caterpillar of its infringement in June 2017 and requested that Caterpillar remove the infringing

 features. See Tr. 225:18–226:10. But Caterpillar made a calculated decision not to do so. Tr.

 438:21–442:21. As explained above, it refused to stop infringing when Wirtgen requested it in

 June 2017, and it refused again after the ITC proceedings. Indeed, Caterpillar did not stop selling

 the exact machines the ITC found infringing for years after the ITC decision. Tr. 899:8–12.

        Worse yet, as noted above, not only did Caterpillar continue to sell infringing machines,

 Caterpillar launched numerous new builds of those machines that maintained a variety of

 infringing features, including the recent launch of the infringing RM600 and RM800 rotary

 mixers with certain infringing features just last year. A list of Caterpillar’s machine changes and

 new build introductions post-ITC initial determination by the ALJ on October 1, 2018, is



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 provided below. This table demonstrates that, despite certain redesigns, Caterpillar continued to

 release infringing machines even after the ITC’s 2018 infringement findings:

                                                                     Release                                  Patents
                 Machine                         Build                                   Citation
                                                                      Date                                   Infringed
                                                                                                            ’309, ’530,
     Large Cold Planer Machines
                                                  02A                  2019           Tr. 372:5–20          ’641, ’788,
         (PM600 / PM800)
                                                                                                                ’972
     Large Cold Planer Machines             Ride Control                                                    ’530, ’641,
                                                                       2020        Tr. 373:18–375:11
         (PM600 / PM800)                  Removed Mid-02A                                                   ’788, ’972
     Large Cold Planer Machines                                                                             ’641, ’788,
                                                  02B                  2020        Tr. 372:23–373:17
         (PM600 / PM800)                                                                                        ’972
     Large Cold Planer Machines              Reverse Rotor
                                                                       2021          Tr. 375:13–17              ’788, ’972
         (PM600 / PM800)                  Shutoff V1 Removed
     Small Cold Planer Machines
                                                  02A                  2019          Tr. 376:12–17              ’641, ’788
              (PM300)
     Small Cold Planer Machines
                                                  02B                  2019          Tr. 376:12–17              ’641, ’788
              (PM300)
     Small Cold Planer Machines              Reverse Rotor
                                                                       2021          Tr. 376:18–22                ’788
              (PM300)                     Shutoff V1 Removed
           Rotary Mixers
                                                     /                 2023           Tr. 377:1–10                ’530
         (RM600 / RM800)

            As set forth in the table below, Caterpillar’s profit from the sale of infringing machines

 after the ALJ’s October 1, 2018 infringement finding totaled approximately $96.6 million:

                                            Caterpillar Infringing Profits after Oct. 1, 2018 2
      Year        PM310       PM312          PM313         PM620         PM622         PM820        PM822           PM825
     Q4 2018        -        $405,774       $260,725      $488,931    $1,936,510           -       $583,071        $302,796
      2019       $487,827   $5,130,573      $931,397     $1,548,304   $6,051,586      $334,488    $3,352,923       $866,628
      2020       $216,162   $5,126,556      $782,758     $1,108,445   $7,453,454           -      $5,468,509      $1,474,329
      2021       $162,574   $3,776,644     $1,356,811     $367,569    $3,330,297           -      $5,479,753      $3,053,379
      2022          -       $2,847,304      $262,505      $904,610    $5,864,957      $303,551    $2,970,325       $968,322
      2023          -       $3,669,341      $620,007      $376,651    $7,363,814           -      $7,360,546      $1,287,796
       Total:    $866,563   $20,956,192    $4,214,203 $4,794,510 $32,000,618 $638,039             $25,215,127     $7,953,250


            The length of Caterpillar’s infringement spanned years—even after both Wirtgen’s notice

 and the ITC’s finding of infringement. For these reasons, Read factor 6 favors enhancement.

            F.       The lack of remedial actions taken by Caterpillar supports enhancing
                     damages (Read Factor 7).

            Caterpillar had multiple opportunities to stop infringing. It could have stopped when


 2
     Ex. 3332.


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 Wirtgen first requested it. It did not. It could have stopped after the ITC ALJ issued a decision

 finding that it infringed. It did not. It could have stopped after the ITC affirmed the ALJ. It did

 not. It could have stopped after the Federal Circuit affirmed the ITC. It did not. It could have

 contacted Wirtgen to seek a license on Wirtgen’s patents in order to avoid infringement. It did

 not. Tr. 556:3–9. Instead, at every decision point, Caterpillar made a calculated decision to

 continue making, importing, and selling infringing machines. That Caterpillar implemented

 redesigns only after years of litigation (and even then for only some infringed patents) warrants

 enhancement under Read Factor 7. Tr. 1043:7–21; see Tr. 443:1–18, 443:25–445:14.

        That is particularly so given that Caterpillar, by its own admission, could have avoided

 infringement earlier. Mr. Engelmann testified that Caterpillar was aware of various “potential

 design arounds” for “ride control, leg sensors, reverse shut off and hot swap” that “would take

 roughly two years to . . . design and implement” at a total estimated cost to Caterpillar of “5.4

 million in design cost and validation cost.” Tr. 443:1–445:14; Ex. 0263A.0005 (showing

 estimated “Design Costs,” “Validation costs,” and “Design Time” for purported “Ride Control,”

 “Leg Sensors,” “Reverse Shut-Off,” and “Hot Swap” redesigns); see also Ex. 1625 (“Design

 Change Impact” document indicating Caterpillar awareness of “Design Change” for the ’309

 patent that was “$65k & Effective within 3 mo.”). Mr. Reed also testified that Caterpillar could

 have changed designs. Tr. 1877:22–1878:4. He testified “that the prior hot swap system in the

 PM465 would address the ’788 patent” and that “modifying the sensors, that would be associated

 with both the ’530 and ’972 patent, would address the ’972 patent.” Tr. 1826:4–20. Yet he

 confirmed at trial that Caterpillar never implemented any design changes for the ’788 or ’972

 patents, and that Caterpillar continues to make and sell machines with these features to this day.

 Tr. 1878:12–1879:1. Indeed, every single cold planer machine Caterpillar has sold for the past




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 eight years infringes a Wirtgen patent. Tr. 1880:25–1881:5.

        With respect to Caterpillar’s design-arounds for the ’641, ’309, and ’530 patents, Mr.

 Reed testified that Caterpillar would have been aware of such design change options at the time

 of the hypothetical negotiation—i.e., before any infringement began. Tr. 1879:2–18. He admitted

 (i) that Caterpillar did not implement these changes until after the ITC’s infringement findings on

 these patents and (ii) that Caterpillar kept making and selling infringing machines for more than

 two years thereafter. Tr. 1879:19–1880:8.

        Time after time, Caterpillar failed to take remedial action to avoid or mitigate its

 infringement. That conduct shows “a degree of dismissiveness” of Wirtgen’s patent rights and

 “disrespect of the value the law places on protection of intellectual property.” Applera Corp. v.

 MJ Rsch. Inc., 372 F. Supp. 2d 233, 247 (D. Conn. 2005); see Novozymes A/S v. Genencor Int’l,

 Inc., 474 F. Supp. 2d 592, 611 (D. Del. 2007). This factor, too, favors enhancement.

        G.      Caterpillar was motivated to undercut Wirtgen in the cold planer machine
                industry to gain market share (Read Factor 8).

        Wirtgen and Caterpillar are direct competitors in the cold planer market, and Caterpillar’s

 own witnesses confirmed it was “[a]bsolutely” Caterpillar’s goal to take market share away from

 Wirtgen to grow its own. Tr. 889:12–890:14, 890:21–891:17, 1763:18–21; see Ex. 0608.0001

 (“The cold planer strategy is to achieve 20+ PINS predominantly from Wirtgen and disrupt

 Wirtgen Group’s ability to subsidize their product portfolio.”), .0015 (pie charts indicating

 Caterpillar wanted to take market share from Wirtgen).

        During the concept phase of Caterpillar’s development of the infringing machines,

 Caterpillar considered Wirtgen—the market leader—to be a threat to its business, as Caterpillar

 was “borderline extinct” in the cold planer market. Tr. 1775:14–24, 1776:8–1777:18; Ex.

 0105A.0003 (Nov. 4, 2014 presentation indicating: “Wirtgen is the clear cold planer market



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 leader. Their margins are an immediate threat to all other paving products and long term threat to

 all Cat products.”), .0012 (“Need Help: CLPN [cold planers]: borderline extinct.”). Indeed,

 Caterpillar “spend[s] more of [its] time speaking about Wirtgen and trying to understand them”

 because Wirtgen is the dominant market player. Tr. 1782:17–1783:22 (Hanback).

        So Caterpillar copied Wirtgen’s features and implemented them on its own machines. See

 supra Section I.A. The strategy worked. Caterpillar’s infringing machines fared much better in

 the market and took sales away from Wirtgen. Caterpillar’s market share doubled after

 introduction of its infringing machines, and Wirtgen’s market share simultaneously decreased.

 Tr. 1860:12–1861:3. Where, as here, the evidence “demonstrate[s] that [Defendant] intended to

 aggressively compete head-to-head . . . with the express goal of luring away [Plaintiff’s]

 customers and decreasing [Plaintiff’s] market share,” this constitutes “egregious infringement

 behavior” that “establishes the need for enhanced damages as a sufficient punitive measure.”

 EagleView Techs., Inc. v. Xactware Sols., Inc., 522 F. Supp. 3d 40, 55 (D.N.J. 2021). That is

 especially so given that the parties are direct competitors. See nCUBE, 313 F. Supp. 2d at 390.

                                          *       *       *

        Given the significant evidence of Caterpillar’s misconduct in this case, the “particular

 circumstances” support treble damages. Caterpillar is a company with vast financial means.

 Despite these resources, Caterpillar tore down, analyzed, reverse-engineered, and copied

 Wirtgen’s inventions—without any good-faith belief of invalidity or non-infringement—with the

 specific goal of taking market share from Wirtgen. It sold infringing machines for years, long

 after Wirtgen notified Caterpillar of its infringement and after the ITC confirmed it. It took no

 remedial actions to avoid infringement, despite its apparent belief that it could have designed

 around Wirtgen’s patents. Instead of redesigning its infringing machines, Caterpillar moved their




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 manufacturing to the United States to avoid the ITC’s exclusion order. And it doubled down on

 its infringement as it designed, manufactured, and sold new builds of its cold planer machines

 and—as late as last year—released brand new rotary mixer machines using the same infringing

 technology. That egregious misconduct strongly favors enhancement.

 II.    This case is exceptional, justifying an award of Wirtgen’s reasonable attorneys’ fees.

        The Court should also award attorneys’ fees related to the willfully infringed ’309, ’530,

 ’972, ’641, and ’788 patents. A court may award reasonable attorneys’ fees to the prevailing

 party “in exceptional cases.” 35 U.S.C. § 285. An “exceptional” case is “one that stands out from

 others with respect to the substantive strength of a party’s litigating position.” Octane Fitness,

 LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 554 (2014). Relevant considerations include

 “frivolousness, motivation, objective unreasonableness (both in the factual and legal components

 of the case) and the need” for “compensation and deterrence.” Id. at 554 n.6.

        Willfulness alone is “[a] sufficient basis” “for deeming th[e] case exceptional” and

 awarding attorneys’ fees. Bard Peripheral Vascular, Inc. v. W.L. Gore & Assocs., Inc., 670 F.3d

 1171, 1192 (Fed. Cir. 2012). Here, there was much more: as said, Caterpillar willfully infringed

 for years, desperate to compete with Wirtgen at all costs, even if it meant circumventing a federal

 agency order and advancing spurious litigation arguments while knowing that it infringed valid

 patents. Supra Section I; see Saint-Gobain Autover USA, Inc. v. Xinyi Glass N. Am., Inc., 707 F.

 Supp. 2d 737, 757 (N.D. Ohio 2010) (finding case “exceptional” “[f]or the reasons previously

 stated in favor of enhancement”). In short, Caterpillar tied up Wirtgen in litigation for years for

 no good reason. That harm cannot be undone, but the Court can and should award Wirtgen the

 attorneys’ fees it expended to assert the patents found infringed. 3


 3
  Should the Court find this case exceptional under § 285, Wirtgen will separately submit a
 motion for attorney’s fees under Federal Rule of Civil Procedure 54(d), “stat[ing] the amount


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 III.       The Court should enjoin Caterpillar’s infringement.

            In eBay Inc. v. MercExchange, L.L.C., the Supreme Court held that a permanent

 injunction should issue if: (1) the plaintiff suffered irreparable injury; (2) monetary damages are

 inadequate to compensate for that injury; (3) the balance of hardships favors the plaintiff; and (4)

 the public interest favors an injunction. 547 U.S. 388, 391 (2006). In patent infringement cases,

 courts have historically granted injunctions far more often than not “given the difficulty of

 protecting a right to exclude through monetary remedies that allow an infringer to use an

 invention against the patentee’s wishes—a difficulty that often implicates the first two factors of

 the traditional four-factor test.” Id. at 395 (Roberts, J., concurring). Courts should take counsel

 from these decades of precedent, as “a page of history is worth a volume of logic.” Id. 4 Thus,

 while “eBay abolishe[d the previous] rule that an injunction normally will issue when a patent is

 found to have been valid and infringed, it d[id] not swing the pendulum in the opposite

 direction.” Robert Bosch LLC v. Pylon Mfg. Corp., 659 F.3d 1142, 1149 (Fed. Cir. 2011).

            All eBay factors favor an injunction here. Wirtgen therefore requests that:

        •   the Court enjoin Caterpillar’s infringement of U.S. Patent Nos. 8,424,972 (parallel-to-
            surface; large cold planer machines), 7,946,788 (sensor switching; all cold planer
            machines), and 9,656,530 (intelligent leg control; rotary mixers) by Caterpillar’s current
            machine design; and

        •   the Court enjoin Caterpillar’s infringement of U.S. Patent Nos. 7,530,641 (safely driving
            backwards; all cold planer machines), 7,828,309 (full floating axle; large cold planer
            machines), and 9,656,530 (intelligent leg control; large cold planer machines) by
            Caterpillar’s prior machine design (that is, the design Caterpillar used before it


 sought or provid[ing] a fair estimate of it,” within “14 days after the entry of judgment.” Bayer
 Healthcare LLC v. Baxalta Inc., No. 16-cv-1122, 2019 WL 4016235 (D. Del. Aug. 26, 2019)
 (14-day period does not trigger until the Court enters final judgment).
 4
   See also Seaman, C., Permanent Injunctions in Patent Litigation After eBay: An Empirical
 Study, 101 Iowa L. Rev. 1949, 1969, 1990 (2016) (post-eBay empirical study showing that
 injunctions were granted in approximately 95% of cases pre-eBay and approximately 84% of
 cases post-eBay when accounting for cases brought by non-practicing entities).


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        implemented redesigns in the years following the ITC proceedings).

        A.      Wirtgen will be irreparably harmed absent an injunction because it directly
                competes with Caterpillar in the cold planer machine and rotary mixer
                markets (eBay Factor 1).

        To obtain an injunction, a patentee must show irreparable harm and a causal nexus

 between the infringement and the harm. Apple Inc. v. Samsung Elecs. Co., 735 F.3d 1352, 1359–

 60 (Fed. Cir. 2013). “Direct competition” between the parties “suggest[s] strongly the potential

 for irreparable harm without enforcement of the right to exclude.” Presidio Components, Inc. v.

 Am. Tech. Ceramics Corp., 702 F.3d 1351, 1363 (Fed. Cir. 2012). This is particularly true where

 “[t]he Accused Products were intentionally developed with the goal of replacing, and directly

 competing with, [the patentee’s] products.” Wonderland Switz. AG v. Evenflo Co., No. 1:20-cv-

 00727, 2023 WL 4098571, at *5 (D. Del. June 7, 2023). Regarding causal nexus, where the

 patent covers a machine feature, the patentee need only show “that a patented feature is one of

 several features that cause consumers to make their purchasing decisions.” Apple Inc. v. Samsung

 Elecs. Co., 809 F.3d 633, 644 (Fed. Cir. 2015) (cleaned up). “[It] is enough that [the patentee]

 has shown that these features were related to infringement and were important to customers

 when they were examining their [product] choices.” Id.

        Caterpillar and Wirtgen are direct competitors. Ex. 105A.0003, 16, 19, 41, 43, 44;

 Ex. 0562.0018–19; Tr. 205:6–8, 363:7–13, 889:25–891:17, 1783:8–22; Ex. 608.0001, 15.

 Caterpillar intentionally designed its infringing machines to directly compete with Wirtgen. Tr.

 411:25–412:5, 560:12–565:2; Ex. 0562.0019. Indeed, Caterpillar targeted Wirtgen’s patented

 features after surveying customers to determine what features they most valued, Tr. 410:15–

 411:24, 665:22–666:15, 1784:16–1786:6; Ex. 0562.0029–30, as the following table shows:

              Ex. 0047.0003           Discussing “if we need to look for a solution that
  ’972 pat.                           drives all legs” because CAT is “being bench marked
                                      against the Wirtgen PTS system[.]”


                                                 16
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                 Ex. 0208A.0010–13      2011 Gateway Presentation discussing “Auto Rear Leg
                                        Control – Keeps Machine Parallel with Road”
                 Ex. 0242A.0009, 21     VOC survey praising patented feature
                 Ex. 0593A, VOC         VOC survey praising patented feature
                 Controls Tab, Rows
                 50, 58, 93, 437, 442
                 Ex. 0602.0107          CAT Gateway identifying “Parallel to Surface Auto
                                        Leveling Technology” as a catch-up feature
                 Ex. 0611.0039–40       Identifying PM600 Product Design Features that were
                                        the “Output of Extensive LCP and VOC Activities”
                 Tr. 319:3–320:10        “PTS was again very welcomed because it allowed the
                                        operator to worry about one less thing that the machine
                                        now is doing automatically[.]”
                 Tr. 420:18–422:24      “[W]e were looking into ways of accomplishing that
                 (discussing            [PTS] feature, it was feedback we had gotten from our
                 Ex. 0604.0003)         customers that they would like something like that.”
                 Ex. 0611.0039–40       Identifying PM600 Product Design Features that were
                                        the “Output of Extensive LCP and VOC Activities”
                 Ex. 0242A.0007–9,      VOC survey praising patented feature
                 15, 17, 21
                 Ex. 0593A, VOC         VOC survey praising patented feature
                 Controls Tab, Rows
                 54, 56, 62, 72, 74,
     ’788 pat.   84, 95, 274, 441
                 Tr. 322:3–324:2        “[T]his was also another feature that was very well
                                        received because it enhanced the productivity and
                                        automated something that before had to be manually
                                        done and compared.”
                 Tr. 428:23–432:17      “[P]art of that initiative for intuitive grade and slope
                 (discussing            display was the ability to change sensors as well as
                 Ex. 0064.0040)         target and measured values.”
                 Ex. 589.0007           CAT brochure advertising “[f]our leg posts with
     ’530                               position sensors”
     pat. 5      Tr. 320:11–322:2       “[T]he intelligent leg controls were definitely a game
                                        changer.”
                 Ex. 593A.0026          VOC survey: “HATES propel shut down when
                                        reversing with rotor engaged. Ken, told dealer, ‘if you
     ’641 pat.                          don't come out here and get rid of that function I am
                                        going to send this machine back and go buy a
                                        Wirtgen.’”


 5
  Although Caterpillar’s early research focused on Wirtgen’s cold planer machines, Caterpillar
 implemented the same sensing technology claimed in the ’530 patent in its rotary mixers. Tr.
 451:16–452:7. That technology was necessary to assist with steering and calculating rotor depth,
 two functions crucial to general machine operation. Tr. 380:3–21, 544:1–14.


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     ’309 pat.   Ex. 589.0007          CAT brochure advertising “[r]ide control”

 Caterpillar even tore Wirtgen’s machines down to the bolt to determine how those features

 operated so that it could compete with Wirtgen. Tr. 408:9–409:17, 410:5–14, 412:6–20, 417:21–

 419:23; Ex. 0561.0038; Ex. 0562.0041. And Caterpillar specifically advertised its infringing

 features to its customers. Tr. 1802:11-1804:12; Ex. 589. Wirtgen then lost market share equal to

 the share gained by Caterpillar upon Caterpillar’s introduction of its infringing machines. Tr.

 205:9–207:11, 221:14–23, 242:11–14, 1860:12–1861:3; Ex. 3368. Caterpillar’s infringement

 thus directly caused Wirtgen—its primary competitor—to lose market share. That sort of injury

 is a classic example of irreparable harm. Douglas Dynamics, LLC v. Buyers Prods. Co., 717 F.3d

 1336, 1344 (Fed. Cir. 2013). Critically, that is so even if the patentee manages, through

 “marketing and sales, engineering, and research and development,” to regain market share

 notwithstanding the infringement. Id. 6 This factor thus strongly favors an injunction.

           B.     Damages cannot compensate for the future harm Caterpillar’s continued
                  infringement will cause (eBay Factor 2).

           Damages are inadequate to compensate for loss of market share. Douglas, 717 F.3d at

 1345 (also emphasizing that a patentee should not “suffer some penalty for managing through

 great effort to maintain market share in the face of infringing competition”). A patentee’s

 unwillingness to license its technology to competitors also weighs in favor of a conclusion that

 the patentee has no adequate remedy at law, Acumed LLC v. Stryker Corp., 551 F.3d 1323,

 1327–28 (Fed. Cir. 2008), as does a lengthy litigation to protect the patentee’s decision not to do

 so, Sanofi-Aventis Deutschland GmbH v. Glenmark Pharms. Inc., USA, 821 F. Supp. 2d 681, 694


 6
   Regarding prior infringing machine designs, “[p]ast harm to a patentee’s market share,
 revenues, and brand recognition is relevant for determining whether the patentee ‘has suffered an
 irreparable injury.’” i4i Ltd. P’ship v. Microsoft Corp., 598 F.3d 831, 861–62 (Fed. Cir. 2010)
 (quoting eBay, 547 U.S. at 391).


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 (D.N.J. 2011). Furthermore, “[s]ales lost by [a patentee] to [an infringer] are difficult to quantify

 due to the ‘ecosystem effect’—that is, the effect the sale of a single product can have on

 downstream sales of accessories, computers, software applications, and future smartphones and

 tablets.” Apple, 809 F.3d at 634. “This factor strongly weighs in favor of” a patentee because the

 extent of such “downstream and network effect losses are very difficult to quantify.” Id.

         All the hallmarks of the inadequacy of damages are present here. As noted above, the

 parties are direct competitors, and Wirtgen lost market share to Caterpillar due to Caterpillar’s

 infringement. Wirtgen decision-makers testified that they were not interested in licensing the

 patented technology implemented in their machines to Caterpillar (or to anyone else, for that

 matter). Tr. 217:25–218:8, 280:4–14, 283:6–286:7; Ex. 2946. Furthermore, witnesses for both

 sides testified regarding the importance of ecosystem effects, e.g., commonality of parts and

 operating systems, in selling road construction machines. Tr. 311:14–23, 343:21–25, 1232:24–

 1233:6, 1763:22–1764:15, 1768:6–1770:14, 1863:16–23. Acknowledging this ecosystem effect,

 Caterpillar’s go-to-market strategy explicitly noted its focus on fleet packages and its goal to

 provide a full range of cold planers. Ex. 0390.0018; Ex. 0562.0010, 20–24.

         Regarding the prior infringing machine designs, Caterpillar’s behavior demonstrates that,

 absent an injunction, it will deliberately infringe if it is financially beneficial to do so. After the

 ITC found Caterpillar’s earlier designs to infringe, it moved manufacturing of those machines to

 the United States to avoid the ITC exclusion orders and continue to infringe. Tr. 441:3–442:21.

 Caterpillar also made the rotary mixers that the jury found to infringe the ’530 patent in the

 United States, despite the ITC’s determination that its similarly designed cold planer machines

 infringed the ’530 patent. Tr. 451:16–452:7. As Caterpillar continues to build out its product line

 to compete with Wirtgen, Ex. 0105A.0003–12, there is every reason to think it would revert to




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 prior infringing designs if it decides that potential profits outweigh litigation costs. The Court

 should enter an injunction to prevent that from happening.

        C.      The balance of hardships favors an injunction (eBay Factor 3).

        Patent protection is crucial to a technology-driven company like Wirtgen. Wirtgen

 invested millions of dollars to develop the patented features that make it the market leader. Tr.

 209:9–210:21, 277:24–280:3. Wirtgen likewise expended significant resources for the past eight

 years seeking to stop Caterpillar from infringing the ’972, ’788, and ’530 patents. Tr. 218:9–

 220:20, 242:25–243:8. The burden of competing with one’s own patented invention is substantial

 and weighs in favor of granting an injunction. Robert Bosch, 659 F.3d at 1156. This is

 particularly true here, where Caterpillar was undercutting Wirtgen’s pricing. Ex. 0105A.0030;

 Ex. 0390.0010–11; Tr. 211:1–212:9, 235:11–16, 1861:4–7.

        Moreover, Caterpillar, having willfully infringed, will not suffer cognizable harm from an

 injunction. 7 “The fact that the enjoined portion of [Defendant’s] business was built on infringing

 products [] weighs against the hardship [Defendant] will suffer by being enjoined.” Wonderland,

 2023 WL 4098571, at *8 (citation omitted). Caterpillar should not be heard to argue that it will

 be harmed by an injunction given its assertion that acceptable non-infringing alternatives exist,

 would be quick and relatively inexpensive to implement, and would not affect the sales price. Tr.

 1061:8–1063:5, 1066:20–1074:12, 1190:12–1192:1, 1206:20–1207:18, 1722:11–1727:15,

 1821:13–1826:20, 1832:2–1834:18, 1877:16–1879:18; Ex. 0263A.0002–05. Indeed, Caterpillar

 already designed around certain patents in response to the ITC’s exclusion order. It could have

 undertaken similar design-around efforts for the patents in question but chose not to. Broadcom



 7
   Considering Caterpillar’s size and sophistication, injunctive relief is also not an existential
 threat to Caterpillar. Tr. 225:2–12.


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 Corp. v. Qualcomm Inc., 543 F.3d 683, 704 (Fed. Cir. 2008). It should now have to live with the

 consequences of that choice. This factor, too, favors an injunction against Caterpillar.

        D.      An injunction furthers the public interest (eBay Factor 4).

        The public has a strong interest in a robust patent system, enforced through injunctions,

 that protects the property rights of patent holders. Apple, 809 F.3d at 646–47. Injunctions in

 patent cases only rarely disserve the public interest, and typically only where an injunction

 would negatively impact public health or safety. Vanda Pharms. Inc. v. Roxane Labs., Inc., C.A.

 No. 13-1973, 2016 WL 4490701, at *16 (D. Del. Aug. 25, 2016); Mass Engineered Design, Inc.

 v. Ergotron, Inc., 633 F. Supp. 2d 361, 394 (E.D. Tex. 2009). Caterpillar cannot credibly argue

 for any such impact here. Indeed, an injunction will not limit the public’s access to the relevant

 products at all because (i) Wirtgen has the capacity to supply any machines that Caterpillar

 would have supplied; (ii) other manufactures sell into the same market; and (iii) Caterpillar can

 continue to sell machines if it redesigns to avoid infringement. Tr. 208:16–209:8, 1781:9–

 1782:16; see Metalcraft of Mayville, Inc. v. The Toro Company, 848 F.3d 1358, 1369 (Fed. Cir.

 2017). This factor favors a grant of injunction against Caterpillar.

        The public has a strong interest in promoting patent rights. Wirtgen’s reputation as an

 innovator, its exclusivity rights, and its market position have been irreparably harmed by

 Caterpillar’s infringement, and that will continue until Caterpillar is stopped. Accordingly,

 Wirtgen requests the Court permanently enjoin Caterpillar from selling its infringing machines.

 IV.    Should it deny injunctive relief, the Court should award an ongoing royalty.

        Money cannot fully rectify the harm from Caterpillar’s infringement. But, if the Court

 declines an injunction, it should at the very least award an ongoing royalty for Caterpillar’s

 continued infringement so that Wirtgen receives some compensation for that harm. An ongoing

 royalty is especially appropriate where, as here, the parties have a demonstrated history of failed


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 negotiations and Caterpillar continues to sell infringing products and services. See Paice LLC v.

 Toyota Motor Corp., 504 F.3d 1293, 1314–15 (Fed. Cir. 2007); Telcordia Techs., Inc. v. Cisco

 Sys., Inc., C.A. No. 04-876, 2014 WL 1457797, at *1, *5 (D. Del. Apr. 14, 2014).

        Specifically, Wirtgen requests that the Court award the following amounts:

             Patent                     Infringing Products                Per-Unit Royalty
            8,424,972                Large cold planer machines         $49,685.82 to $74,528.73
            7,946,788                 All cold planer machines          $14,483.32 to $21,724.97
            9,656,530                      Rotary mixers                $29,593.61 to $44,390.41

 These ranges result from dividing the jury award by the number of infringing units included in

 the jury award to arrive at a per-unit royalty and multiplying that royalty by two to three times to

 account for the change in bargaining positions post-verdict.

        “[C]ourts frequently impose a post-verdict ongoing royalty rate that is higher than the

 reasonable royalty found at trial.” Telecordia, 2014 WL 1457797, at *4 & n.8 (collecting cases).

 “Once a judgment of validity and infringement has been entered . . . the royalty calculus is

 markedly different because different economic factors are involved.” Amado v. Microsoft Corp.,

 517 F.3d 1353, 1362 (Fed. Cir. 2008); see Telecordia, 2014 WL 1457797, at *2–4 (awarding

 ongoing royalty almost double jury award due to stronger bargaining position even absent

 willfulness finding). Here, the calculus is especially different. The jury found willful

 infringement, meaning Caterpillar knows in any post-verdict negotiation that it risks treble

 damages. See, e.g., Arctic Cat Inc. v. Bombardier Recreational Prods., Inc., No. 14-cv-62369,

 2017 WL 7732873, at *1–4 (S.D. Fla. Jan. 3, 2017) (relying on jury award as a starting point and

 doubling the ongoing royalty for willfulness), aff’d, 876 F.3d 1350, 1370 (Fed. Cir. 2017).

        Wirtgen, moreover, expended material resources to enforce its patents. The jury’s

 damages number was based on a hypothetical negotiation occurring before infringement, so it

 does not account for the significant time and costs Wirtgen incurred to bring this lawsuit and see



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 it through to a verdict. A higher forward-looking rate is necessary to compensate Wirtgen for its

 enforcement expenditures and for Caterpillar’s continued and unauthorized use of Wirtgen’s

 technology. If the Court imposed an ongoing royalty merely equal to the pre-verdict rate, others

 might see Caterpillar’s continued infringement as a low-cost option that would entail payment

 only if and when Wirtgen chooses to assert its patents.

 V.     Supplemental damages and prejudgment and post-judgment interest are warranted
        for Wirtgen as the prevailing party.

        Supplemental damages. Courts should award prevailing patent owners “no . . . less than

 a reasonable royalty,” 35 U.S.C. § 284, “for periods of infringement not considered by the jury,”

 WhitServe, LLC v. Comput. Packages, Inc., 694 F.3d 10, 38 (Fed. Cir. 2012). Because the sales

 numbers Caterpillar provided at the time of trial only included sales that occurred before or in

 2023, see Ex. 3322, the jury was not able to award damages for infringing sales that were not

 included on Ex. 3322 but occurred before the date on which the Court enters judgment.

        Wirtgen is entitled to an accounting of Caterpillar’s sales not included on Ex. 3322 that

 occur before judgment is entered. See Power Integrations, Inc. v. Fairchild Semiconductor Int’l,

 Inc., 711 F.3d 1348, 1380–81 & n.10 (Fed. Cir. 2013) (collecting cases). Delaware courts have

 awarded supplemental damages when, as here, the relevant financial data was not produced by

 the defendant prior to trial. Purewick Corp. v. Sage Prods., LLC, 666 F. Supp. 3d 419, 450 (D.

 Del. 2023); Godo Kaisha IP Bridge 1 v. TCL Commc’n Tech. Holdings Ltd., C.A. No. 15-634,

 2019 WL 1877189, at *5 (D. Del. Apr. 26, 2019). Accordingly, Wirtgen respectfully requests

 that the Court order an accounting of Caterpillar’s sales of infringing products not included on

 Ex. 3322 that occur before the date on which the Court enters judgment, and award supplemental




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 damages for all such infringing sales at no less than the jury’s per-unit royalty rate. 8

        Prejudgment interest. An award of prejudgment interest is “the rule, not the exception.”

 Energy Transp. Grp., Inc. v. William Demant Holding A/S, 697 F.3d 1342, 1358 (Fed. Cir.

 2012). It is typically awarded to restore a plaintiff to the position it would have been in had there

 been no wrongdoing. Gen. Motors. Corp. v. Devex Corp., 461 U.S. 648, 655–57 (1983). Courts

 in Delaware typically award prejudgment interest at the prime rate, compounded quarterly.

 ArcherDX, 2022 WL 4597877, at *18 (collecting cases); see Wonderland Switzerland AG v.

 Evenflo Co., No. 1:20-cv-00727, 2023 WL 5497918, at *3 (D. Del. July 24, 2023).

 Compounding quarterly is consistent with industry practice. Bayer, 2019 WL 4016235, at *7.

        Prejudgment interest is necessary to adequately compensate Wirtgen. There are no

 special circumstances to justify withholding full compensation. Wirtgen faithfully pursued its

 claims against Caterpillar without delay, and the jury returned a verdict in Wirtgen’s favor. Even

 in cases where litigation was stayed pending a parallel proceeding over the same patents, courts

 have awarded prejudgment interest, including for the stayed period, where both parties requested

 the stay. See, e.g., Allen Archery, Inc. v. Browning Mfg. Co., 898 F.2d 787, 791–92 (Fed. Cir.

 1990); St. Clair Intell. Prop. Consultants, Inc. v. Fuji Photo Film Co., Ltd., 674 F. Supp. 2d 555,

 561–62 (D. Del. 2009). Wirtgen thus requests the Court award prejudgment interest on the jury

 verdict award and any supplemental damages awarded by the Court at the prime rate,

 compounded quarterly. The damages period began on April 29, 2016, for the ’309, ’641, and

 ’788 patents; May 23, 2017, for the ’530 patent; and September 2, 2021, for the ’972 patent. Dr.

 Seth has calculated the prejudgment interest rate by applying the per annum Bank Prime Loan



 8
  If supplemental damages are awarded, Wirtgen will provide a supplemental damages
 calculation after receiving an accounting from Caterpillar.


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 Rate reported at the quarterly average level by the St. Louis Federal Reserve, compounded

 quarterly and using a mid-period convention over the time period for damages, amounting to

 $2,920,084.65 in prejudgment interest for sales reported on Caterpillar’s most current sales

 document (Ex. 3322) (this does not include the supplemental damages period). Seth Decl. ¶ 6. 9

        Post-judgment interest. Post-judgement interest is mandated in civil cases at “a rate

 equal to the weekly average 1-year constant maturity Treasury yield . . . for the calendar week

 preceding the date of the judgment.” 28 U.S.C. § 1961. Post-judgment interest on the total

 money award is computed daily and compounded annually. Id.; Eaves v. Cnty. of Cape May, 239

 F.3d 527, 534 (3d Cir. 2001). And it begins accruing when the district court enters final

 judgment quantifying the damages award. Hologic, Inc. v. Minerva Surgical, Inc., 957 F.3d

 1256, 1274 (Fed. Cir. 2020). Any enhanced damages, supplemental damages, pre-judgment

 interest, and attorneys’ fees will also be subject to post-judgment interest starting upon the date

 the Court enters judgment quantifying each category of damages. See Eaves, 239 F.3d at 534

 (awarding post-judgment interest on attorneys’ fees from the date that amount is fixed). Daily

 post-judgment interest continues until all owed amounts are paid.

 VI.    Conclusion

        This Court should (i) award treble damages, (ii) grant Wirtgen’s reasonable attorneys’

 fees, (iii) enjoin Caterpillar’s infringement or else impose an ongoing royalty, and (iv) award

 supplemental damages and prejudgment and post-judgment interest.




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   If supplemental damages are awarded, Wirtgen will provide a prejudgment interest calculation
 for the supplemental damages after receiving an accounting from Caterpillar.


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 Dated: May 1, 2024                            Respectfully submitted,

 Of Counsel:
 Ryan D. Levy                                  YOUNG CONAWAY STARGATT &
 Seth R. Ogden                                 TAYLOR, LLP
 William E. Sekyi
 Mark A. Kilgore                               /s/ Adam W. Poff
 PATTERSON INTELLECTUAL PROPERTY LAW, P.C.     Adam W. Poff (No. 3990)
 Roundabout Plaza                              Samantha G. Wilson (No. 5816)
 1600 Division Street, Suite 500               Rodney Square
 Nashville, Tennessee 37203                    1000 North King Street
 (615) 242-2400                                Wilmington, DE 19801
 rdl@iplawgroup.com                            (302) 571-6600
 sro@iplawgroup.com                            apoff@ycst.com
 wes@iplawgroup.com                            swilson@ycst.com
 mak@iplawgroup.com

     - and -

  Daniel E. Yonan
  Paul A. Ainsworth
  R. Wilson Powers III
  Kyle E. Conklin
  Deirdre M. Wells
  Joseph H. Kim
  STERNE, KESSLER, GOLDSTEIN & FOX PLLC
  1100 New York Ave., NW, Suite 600
  Washington, DC 20005
  (202) 371-2600
  dyonan@sternekessler.com
  painsworth@sternekessler.com
  tpowers@sternekessler.com
  kconklin@sternekessler.com
  dwells@sternekessler.com
  josephk@sternekessler.com

 Attorneys for Wirtgen America, Inc.




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                                CERTIFICATE OF SERVICE

        I, Adam W. Poff Esquire, hereby certify that on May 1, 2024, I caused the foregoing

 document to be served by email upon the following counsel:

      Bindu A. Palapura                             Lucy Yen
      Andrew L. Brown                               Michelle Dang
      POTTER ANDERSON & CORROON, LLP                WILSON SONSINI GOODRICH &
      1313 N. Market Street, 6th Floor              ROSATI, P.C.
      Wilmington, DE 19801                          1301 Avenue of the Americas
      bpalapura@potteranderson.com                  40th Floor
      abrown@potteranderson.com                     New York, NY 10019
                                                    lyen@wsgr.com
      James C. Yoon                                 mdang@wsgr.com
      Ryan R. Smith
      Christopher Mays                              Matthew A. Macdonald
      WILSON SONSINI GOODRICH &                     Naoya Son
      ROSATI, P.C.                                  Alexander Turner
      650 Page Mill Road                            Neil N. Desai
      Palo Alto, CA 94304                           WILSON SONSINI GOODRICH &
      jyoon@wsgr.com                                ROSATI, P.C.
      rsmith@wsgr.com                               953 East Third Street
      cmays@wsgr.com                                Suite 100
                                                    Los Angeles, CA 90013
                                                    matthew.macdonald@wsgr.com
                                                    nson@wsgr.com
                                                    aturner@wsgr.com
                                                    ndesai@wsgr.com

                                                    caterpillar@wsgr.com

                                                  YOUNG CONAWAY STARGATT &
                                                  TAYLOR, LLP

                                                  /s/ Adam W. Poff
                                                  Adam W. Poff (No. 3990)
                                                  Samantha G. Wilson (No. 5816)
                                                  Rodney Square
                                                  1000 North King Street
                                                  Wilmington, DE 19801
                                                  (302) 571-6600
                                                  apoff@ycst.com
                                                  swilson@ycst.com

                                                  Attorneys for Plaintiff
